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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                       Hon. Sarah F. Russell, U.S. District Judge

                              ELECTRONIC FILING ORDER

 The Court orders that the parties must file all documents in this case electronically. The
 following requirements are imposed:

    1. Counsel must comply with all applicable Federal Rules of Civil Procedure, the
       District's Local Rules and the requirements set forth in the District's CM/ECF
       Policies and Procedures Manual, and any other rules and administrative
       procedures that implement the District's CM/ECF system.

    2. Documents filed electronically must be filed in OCR text searchable PDF format.

    3. For any case in which a party is represented by counsel, counsel must promptly
       mail or deliver to chambers a single courtesy hard copy of any filing, including
       exhibits, attachments, or supporting memoranda of law, if the filing (taken
       together with those exhibits, attachments, or memoranda) exceeds 30 pages in
       length. All courtesy copies must bear the CM/ECF document identification
       heading on each page. This requirement for a courtesy copy applies only to
       filings by counsel for represented parties and does not apply to self-represented
       litigants.

        When a courtesy copy contains multiple exhibits or appendices, the exhibits or
        appendices should be bound or in a binder, separated by numbered tabs, with a
        sheet at the front of the bound copy or binder indicating which tab corresponds
        to each exhibit or appendix.


                                                 IT IS SO ORDERED.


                                                  /s/ Sarah F. Russell
                                                  Sarah F. Russell
                                                  United States District Judge




Rev. 1/6/25
